Case 6:11-cr-02025-LRR-CJW   Document 57   Filed 04/22/11   Page 1 of 7
Case 6:11-cr-02025-LRR-CJW   Document 57   Filed 04/22/11   Page 2 of 7
Case 6:11-cr-02025-LRR-CJW   Document 57   Filed 04/22/11   Page 3 of 7
Case 6:11-cr-02025-LRR-CJW   Document 57   Filed 04/22/11   Page 4 of 7
Case 6:11-cr-02025-LRR-CJW   Document 57   Filed 04/22/11   Page 5 of 7
Case 6:11-cr-02025-LRR-CJW   Document 57   Filed 04/22/11   Page 6 of 7
Case 6:11-cr-02025-LRR-CJW   Document 57   Filed 04/22/11   Page 7 of 7
